Case 01-01139-AMC Doc155_ Filed 04/30/01 Page 1 of 10

UNITED STATES BANKRUPTCY COURT US BANK Riga
DISTRICT OF DELAWARE LISTRICT oF DEL OUR]

In re : In Proceedings For
A Reorganization
Under Chapter 11

WR GRACE & CO.
Case No. 01-1139-JJUF

NOTICE OF APPEARANCE AND REQUEST
FOR SERVICE OF PAPERS AND
INCLUSION ON MASTER MAILING LIST

PLEASE TAKE NOTICE, that the undersigned appear
for Farallon Capital Management, L.L.C., a party in
interest in the above-captioned case, and pursuant to
Rules 2002, 9007, and 9010 of the Bankruptcy Rules
and Section 1109(b) of the Bankruptcy Code request
that service be made of all orders, notices and other
pleadings of any nature filed in this case on:

Farallon Capital Management,L.L.C.
One Maritime Plaza
Suite 1325

San Francisco, California 94111
Attention: Meridee Moore and Kirsten

Lynch , ae
fo

\SS
Case 01-01139-AMC Doc155_ Filed 04/30/01 Page 2 of 10

Telephone: 415-421-2132 43 BANKRUP]
Facsimile: 415-421-2133 OS

and a copy to:

Richards Spears Kibbe & Orbe

One Chase Manhattan Plaza

New York, New York 10005

Attention: Paul Haskell
and that each of the preceding addresses be added to
the Court's master mailing list.

PLEASE TAKE FURTHER NOTICE, pursuant to Section
1109(b) of the Bankruptcy Code, the foregoing request
includes not only the notices and papers referred to
in the Rules specified above, but also includes,
without limitation, orders and notices of any
application, motion, petition, pleading, request,
complaint or demand, whether formal or informal,
whether written or oral and whether transmitted or
conveyed by mail, delivery, telephone, telegraph,
telex or otherwise, which affect or seek to affect in
any way any of the rights or interest of Farallon

Capital Management, L.L.C. with respect to the

captioned Debtor.
Case 01-01139-AMC Doc155_ Filed 04/30/01 Page 3 of 10

Dated: San Francisco, California US Bane st!
April 24, 2001 DISTRICT; we ACY

FARALLON CAPITAL MANAGEMENT, L.L.C.

oy: Mant Wt) duds

Mark Wehrly

One Maritime Plaza

San Francisco, California
10005

(415) 421-2132

General Counsel for
Farallon Capital
Management,L.L.C.

To: Persons on the attached certificate of service.
Case 01-01139-AMC Doc155_ Filed 04/30/01 Page 4 of 10

Certificate of Service

On the 24° day of April 2001, I served a true and
correct copy of the foregoing Notice of Appearance by

U.S. mail, in a sealed envelope addressed to each
person on the attached distribution list:

Ni A \ \ Unde,

Mark Wehrly
General Counsel
Farallon Capital
Management, L.L.C.

Clerk of the Court Te
U.S. Bankruptcy Court Sc
District of Delaware mo
824 Market Street Eos
Wilmington, DE 19801
Case 01-01139-AMC Doc155_ Filed 04/30/01 Page 5 of 10

W.R. Grace 2002 Service List
Case No. 01-1139 (RJN)

Doc. No. 20058

April 25, 2001

09 — Hand Delivery

07 — Federal Express

41 — First Class Mail

(Counsel to Debtors and Debtors in
Possession)

Laura Davis Jones, Esquire

David Carickhoff, Esquire.

Pachulski, Stang, Ziehl, Young & Jones
919 North Market Street, 16th Floor
P.O. Box 8705

Wilmington, DE 19899-8705

(Counsel to Debtors and Debtors in
Possession)

Hamid R. Rafatjoo, Esquire

Pachulski, Stang, Ziehl, Young & Jones
10100 Santa Monica Boulevard

Los Angeles, CA 90067-4100

Hand Delivery

(Copy Service)

Parcels, Inc.

Vito I. DiMaio

10th & King Streets
Wilmington, DE 19801

Hand Delivery

(Local Counsel to DIP Lender)
Steven M. Yoder, Esquire

The Bayard Firm

222 Delaware Avenue, Suite 900
P.O. Box 25130

Wilmington, DE 19899

Hand Delivery

(Local Counsel to Asbestos Claimants)
Matthew G. Zaleski, III, Esquire
Ashby & Geddes

222 Delaware Avenue

P.O. Box 1150

Wilmington, DE 19899

Hand Delivery

William H. Sudell, Jr., Esquire
Eric D. Schwartz, Esquire
Morris, Nichols Arsht & Tunnell
1201 N. Market Street

P.O. Box 1347

Wilmington, DE 19899

Hand Delivery

(Counsel for The Chase Manhattan Bank)
Mark D. Collins, Esquire

Deborah E. Spivak, Esquire

Richards, Layton & Finger, P.A.

One Rodney Square

P.O. Box 551

Wilmington, DE 19899

Hand Delivery

Jeffrey C. Wisler, Esquire
Michelle McMahon, Esquire
Connolly Bove Lodge & Hutz LLP
1220 Market Street, 10" Floor
Wilmington, DE 19899

Hand Delivery

(Counsel for Ingersoll-Rand Fluid Products)
Francis A. Monaco, Jr., Esquire

Walsh, Monzack and Monaco, P.A.

1201 N. Orange Street, Suite 400

P.O. Box 2031

Wilmington, DE 19801
Case 01-01139-AMC Doc155_ Filed 04/30/01 Page 6 of 10

Hand Delivery

(Counsel for Ingersoll-Rand Fluid Products)
Frederick B. Rosner, Esquire

Walsh, Monzack and Monaco, P.A.

1201 N. Orange Street, Suite 400
Wilmington, DE 19801

Hand Delivery

(Counsel for Property Damage Claimants)
Michael B. Joseph, Esquire

Ferry & Joseph, P.A.

824 Market Street, Suite 904

P.O. Box 1351

Wilmington, DE 19899

Federal Express

(Counsel to Debtor)

James H.M. Sprayregen, Esquire
James Kapp, III, Esquire
Kirkland & Ellis

200 East Randolph Drive
Chicago, IL 60601

Federal Express

(United States Trustee)

Frank J. Perch, Esquire

Office of the United States Trustee
601 Walnut Street, Curtis Center,
Suite 950 West

Philadelphia, PA 19106

Federal Express

(Canadian counsel for Debtor)

Derrick Tay, Esquire

Meighen Demers

Suite 1100, Box 11, Merrill Lynch Canada
Tower

Sun Life Center, 200 Kint Street West
Toronto, Ontario M5H 3T4

CANADA

Federal Express

(W. R. Grace & Co.)
David B. Siegel

W.R. Grace and Co.
7500 Grace Drive
Columbia, MD 21044

Federal Express

(Official Committee of Personal Injury
Claimants)

Elihu Inselbuch, Esquire

Caplin & Drysdale, Chartered

399 Park Avenue 36" Floor

New York, NY 10022

Federal Express

(Official Committee of Unsecured
Creditors)

Lewis Kruger, Esquire

Stroock & Stroock & Lavan LLP
180 Maiden Lane

New York, NY 10038-4982

Federal Express

(Official Committee of Property Damage
Claimants)

Scott L. Baena, Esquire

Member

Bilzin Sumberg Dunn Baena Price &
Axelrod LLP

First Union Financial Center

200 South Biscayne Blvd, Suite 2500
Miami, FL 33131

First Class Mail

(Counsel to Sealed Air Corporation)

D. J. Baker, Esquire

Skadden, Arps, Slate, Meagher & Flom LLP
Four Times Square

New York, NY 10036
Case 01-01139-AMC

First Class Mail
(Counsel to DIP Lender)
J. Douglas Bacon, Esquire
Latham & Watkins

Sears Tower, Suite 5800
Chicago, IL 60606

First Class Mail

(Counsel to Asbestos Claimants)
Nancy Worth Davis, Esquire

Ness, Motley, Loadhold, Richardson &
Poole

28 Bridgeside Boulevard

P.O. Box 1792

Mount Pleasant, SC 29465

First Class Mail

)

Todd Meyer, Esquire
Kilpatrick Stockton
1100 Peachtree Street
Atlanta, GA 30309

First Class Mail

Securities & Exchange Commission
15" & Pennsylvania Ave. N.W.
Washington, DC 20020

First Class Mail
District Director

IRS

409 Silverside Road
Wilmington, DE 19809

First Class Mail

Securities & Exchange Commission
Atlanta Regional Office
Branch/Reorganization

3475 Lenox Road, NE, Suite 100
Atlanta, GA 30326-1232

First Class Mail
Secretary of Treasurer
P.O. Box 7040
Dover, DE 19903

Doc 155 ~Filed 04/30/01 Page 7 of 10

First Class Mail
Secretary of State
Division of Corporations
Franchise Tax

P.O. Box 7040

Dover, DE 19903

First Class Mail

James D. Freeman, Esquire

U.S. Department of Justice
Environmental Enforcement Section
999 18" Street

Suite 945-North Tower

Denver, CO 80202

First Class Mail

Jon L. Heberling, Esquire
McGarvey, Heberling, Sullivan &
McGarvey PC

745 South Main Street

Kalispel, MT 59901

First Class Mail

Patrick L. Hughes, Esquire
Haynes & Boone LLP

1000 Louisiana Street, Suite 4300
Houston, TX 77002-5012

First Class Mail

David S. Heller, Esquire
Latham & Watkins
Sears Tower, Suite 5800
Chicago, IL 60606

First Class Mail

Charles E. Boulbol, Esquire
26 Broadway, 17" Floor
New York, NY 10004

First Class Mail

Ira S. Greene, Esquire

Squadron, Ellenoff, Plesent & Sheinfeld,
LLP

551 Fifth Avenue

New York, NY 10176
Case 01-01139-AMC Doc155_ Filed 04/30/01 Page 8 of 10

First Class Mail

James A. Sylvester, Esquire
Intercat, Inc.

104 Union Avenue
Manasquan, NJ 08736

First Class Mail

Steven J. Johnson, Esquire
Gibson, Dunn & Crutcher LLP
1530 Page Mill Road

Palo Alto, CA 94304-1125

First Class Mail
Charlotte Klenke, Esquire
Schneider National, Inc.
P.O. Box 2545

3101 S. Packerland
Green Bay, WI 54306

First Class Mail

David S. Rosenbloom, Esquire
Jeffrey E. Stone, Esquire
Lewis S. Rosenbloom, Esquire
McDermott, Will & Emery
227 West Monroe Street
Chicago, IL 60606-5096

First Class Mail

Brad Rogers, Esquire

Office of the General Counsel
Pension Benefit Guaranty Corp
1200 K. Street, N. W.
Washington, D.C. 20005-4026

First Class Mail
Pamela Zilly

Richard Shinder
David Blechman
Michael Alexander
The Blackstone Group
345 Park Avenue
New York, NY 10154

First Class Mail

Josiah Rotenberg

Lazard Freres & Co. LLC
30 Rockefeller Plaza, 60"
New York, NY 10020

First Class Mail

(Counsel for The Chase Manhattan)
Stephen H. Case, Esquire

Nancy L. Lazar, Esquire

David D. Tawil, Esquire

Davis Polk & Wardwell

450 Lexington Avenue

New York, NY 10017

First Class Mail

Jan M. Hayden

William H. Patrick

Heller, Draper, Hayden, Patrick & Horn,
L.L.C.

650 Poydras Street, Suite 2500

New Orleans, LA 70130-6103

First Class Mail

Joseph F. Rice

Ness, Motley, Loadholt, Richardson &
Poole

28 Bridgeside Blvd.

P.O. Box 1792

Mt. Pleasant, SC 29465

First Class Mail

Nancy Worth Davis

Ness, Motley, Loadholt, Richardson &
Poole

28 Bridgeside Blvd.

P.O. Box 1792

Mt. Pleasant, SC 29465

First Class Mail

(Counsel for Asbestos Claimants)

Steven T. Baron, Esquire

Member

Silber Pearlman, LLP

2711 North Haskell Avenue, 5" Floor, LLP
Dallas, TX 75204
Case 01-01139-AMC Doc 155 Filed 04/30/01 Page 9 of 10

First Class Mail
Bankruptcy Administration
IOS Capital, Inc.

1738 Bass Road

P.O. Box 13708

Macon, GA 31208-3708

First Class Mail

(Attorneys for PPG Industries, Inc.)
W.J. Winterstein, Jr., Esquire

John J. Winter, Esquire

William M. Aukamp, Esquire
Eleven Penn Center, 29" Floor
1835 Market Street

Philadelphia, PA 19103

First Class Mail

R. Scott Williams

PMG Capital Corp.

Four Falls Corporate Center

West Conshohocken, PA 19428-2961

First Class Mail

Alan R. Brayton, Esquire
Brayton & Purcell

222 Rush Landing Road
Novato, CA 94945

First Class Mail

Jonathan W. Young

Wildman, Harrold, Allen & Dixon
225 West Wacker Drive, Suite 3000
Chicago, IL 60606-1229

First Class Mail

Russell W. Budd

Alan B. Rich

Baron & Budd, P.C.

3102 Oak Lawn Avenue, Suite 1100
Dallas, TX 75219

First Class Mail

Shelby A. Jordan, Esquire

Nathaniel Peter Holzer. Esquire

Jordan, Hyden, Womble & Culbreth, P.C.
500 N. Shoreline Blvd., Suite 900
Corpus Christi, TX 78471

First Class Mail

Courtney M. Labson, Esquire

The Mills Corporation

Legal Department

1300 Wilson Boulevard, Suite 400
Arlington, VA 22209

First Class Mail

T. Kellan Grant

Wildman, Harrold, Allen & Dixon
225 West Wacker Drive, Suite 3000
Chicago, IL 60606-1229

First Class Mail

Cindy Schultz

Ingersoll-Rand Fluid Products
One Aro Center

P.O. Box 151

Bryan, OH 43506

First Class Mail

Alan Kolod, Esquire

Moses & Singer LLP

1301 Avenue of the Americas
40" Floor

New York, NY 10019-6076

First Class Mail

Mr. Thomas Moskie
Bankers Trust Company
Four Albany Street
Fourth Floor

New York, NY 10006
Case 01-01139-AMC Doc 155

First Class Mail

John P. Dillman, Esquire
Linebarger Heard Goggan Blair
Graham Pefia & Sampson, LLP
P.O. Box 3064

Houston, TX 77253-3064

First Class Mail

Charles E. Gibson, III
Attorney at Law

620 North Street, Suite 100
Jackson, MS 39202

Filed 04/30/01 Page 10 of 10
